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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

  DAVID C. WARTH,

       Plaintiff,                             CIVIL ACTION FILE NO.
                                              1:23-cv-05072-MLB
  v.

  THOMAS WILLIAMSON,

  Defendant.



       DEFENDANT’S BRIEF IN SUPPORT OF SUMMARY JUDGMENT
        COMES NOW, Defendant Thomas Williamson (hereinafter “Defendant

Williamson”) pursuant to Federal Rule of Civil Procedure 56 and Local Rule 56.1,

and hereby submits this Brief in support of his Motion for Summary Judgment.

                                    Introduction
         Defendant Williamson is a School Resource Officer employed by the

Gwinnett County Board of Education, the governing authority of the Gwinnett

County School District. The principal job responsibility of school resource officers

is maintaining the safety of students and staff of the Gwinnett County School

District, a job that has become increasingly difficult and dangerous as incidents of

school violence in the United States have become all too common. Plaintiff’s claims

in this case involve challenges to the difficult decisions made by Defendant

Williamson in the performance of those essential duties. Plaintiff David Warth
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(hereinafter “Plaintiff”) is a former student of the Gwinnett County School District

who filed suit against Defendant Williamson, Brittney Dewey, the Gwinnett County

Public Schools and the Gwinnett County School Police related to his arrests on

September 6, 2016, and March 24, 2017 and related criminal prosecutions which

were ultimately nolle prossed and dismissed by the District Attorney’s Office. This

Court dismissed all claims against Ms. Dewey, the Gwinnett County Public Schools

and the Gwinnett County School Police and dismissed several of the claims against

Defendant Williamson. Claims against Defendant Williamson for false arrest under

federal law (Count I), false imprisonment under state law (Count III) and punitive

damages related to the September 6, 2016 arrest and prosecution (Count VI) remain.

Additionally, claims against Defendant Williamson for malicious prosecution under

both state and federal law (Counts VIII and IX) and punitive damage (Count XI)

related to the March 24, 2017, arrest were not dismissed.

      Defendant Williamson now seeks summary judgment for all remaining claims

and dismissal of the suit against him.

                             Summary of Material Facts
      Plaintiff is a former student of the Gwinnett County School District who was

arrested and prosecuted for alleged criminal activities involving his former special

education teacher, Brittney Dewey. [Exhibit A David Warth Deposition, p. 20, lns.

21-24; p. 48, lns. 6-15.] Defendant Williamson is employed as a school resource


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officer (hereinafter “SRO”) for the Gwinnett County Board of Education.

Defendant Williamson arrested Plaintiff for trespassing on September 6, 2016,

when Plaintiff came onto the campus of Brookwood High School near Ms.

Dewey’s trailer wearing an outrageous disguise, fled from a security guard when

confronted about his purpose for being on the campus and refused to provide any

information about his identity or purpose for being on campus after being stopped

in a neighborhood near the school. [Exhibit B Thomas Williamson Deposition p.

36, lns. 6-14]. Defendant Williamson was called to assist after Plaintiff was

stopped by School Resource Officer Wiley Gammons in a neighborhood near

campus. [Exhibit B Thomas Williamson Deposition. p. 33, lns. 3-19.] Defendant

Williamson observed Plaintiff wearing a disguise which included a fake beard, cap,

sunglasses and latex gloves. [Exhibit B Thomas Williamson Deposition p. 36, lns.

6-14]. Defendant Williamson was aware that prior to his arrival, Plaintiff had been

observed near the back of the campus and had fled when confronted by school

security personnel. [Exhibit B Thomas Williamson Deposition. p. 33, lns. 3-19].

After observing Plaintiff repeatedly refuse to remove the disguise, repeatedly

refuse to provide his name and repeatedly refuse to explain what he was doing on

the campus of Brookwood High School, Defendant Williamson arrested Plaintiff.

[Exhibit B Thomas Williamson Deposition, p. 35, lns. 19-25; p. 37, lns. 8-23.]

Defendant Williamson reasonably believed that if he opted not to arrest Plaintiff

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that Plaintiff would have left the scene and would not be able to be found. [Exhibit

D Thomas Williamson Affidavit ¶ 14]. Following the arrest Defendant

Williamson transported Plaintiff to the Gwinnett County Detention Center and

obtained a warrant for his arrest by presenting written and oral testimony to the

Magistrate Judge articulating probable cause. [Exhibit D Thomas Williamson

Affidavit ¶¶ 16,17].

    Plaintiff was charged with three misdemeanors by the Gwinnett County

Solicitor’s Office and entered a guilty plea to those charges. [Exhibit A David Warth

Deposition. p. 129, lns. 8-17; p. 140, lns. 5-17; Exhibit I Sentencing Document].

Plaintiff was sentenced to a custodial sentence of 90 days in jail which commenced

on February 9, 2017. [Exhibit I Sentencing Document].

    Prior to Plaintiff’s guilty plea, but after Ms. Dewey had obtained a second

temporary restraining order, Ms. Dewey received an email threatening her life and

the lives of her friends and family if she did not drop all criminal and civil

proceedings she had pending. [Exhibit E Brittney Dewey Deposition, p. 65 lns. 7-

17, Exhibit E Brittney Dewey Deposition Exhibit 1]. Following an investigation

which included searches of Plaintiff’s dorm, family home, University IT records and

Plaintiff’s mental health records, Defendant Williamson coordinated with

prosecutors to obtain a second arrest warrant and Plaintiff was charged with

aggravated stalking and one count of influencing a witness. [Exhibit B Thomas
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Williamson Deposition, p. 129, lns. 1-18; Exhibit D Thomas Williamson Affidavit,

¶ 39.] Defendant Williamson submitted the written warrant application to Gwinnett

County Judge William Brogdon and provided extensive oral testimony to Judge

Brogdon. [Exhibit J Affidavit of William Brogdon ¶¶ 4-6; Exhibit B Thomas

Williamson Deposition, p. 123, lns. 5-9]. Defendant Williamson’s oral testimony in

support of the March 2017 arrest warrant explained that the stalking charges were

based upon an email received by Ms. Dewey and that the email was not able to be

forensically traced directly to Plaintiff. [Exhibit B Thomas Williamson Deposition,

p. 123, lns. 13-16]. Strong circumstantial evidence supported Plaintiff as the author

of the email. At the time she received the email, Ms. Dewey had no civil or criminal

matters pending other than a temporary protective order she had obtained against

Plaintiff and the criminal charges related to the Plaintiff’s September 6, 2016,

trespass. [Exhibit B Thomas Williamson Deposition, p. 65, lns. 15-25; p. 76, lns. 10-

14]. Neither Plaintiff’s personal cell phone nor the computer that Plaintiff routinely

used to access the Emory University network was found. [Exhibit D Thomas

Williamson Affidavit, ¶¶ 36, 37; Exhibit B Thomas Williamson Deposition, p. 103,

lns. 6-16; p. 125, lns. 7-8] Finally, Plaintiff’s mental health treatment records showed

that Plaintiff fixated on Ms. Dewey and his belief that he had been abused by her at

Brookwood High School. [Exhibit A David Warth Deposition, p. 58, lns. 5-19;

Exhibit D Thomas Williamson Affidavit ¶ 35]. The arrest warrant obtained by

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Defendant Williamson was issued and served upon Plaintiff while he was

incarcerated and serving the 90 day custodial sentence for the September 6, 2016

incidents.   [Exhibit A David Warth Deposition, p. 148, lns. 7-14; Exhibit I

Sentencing February 2017].

    A preliminary hearing was held on March 28, 2017. [Exhibit F Preliminary

Hearing Recording]. Plaintiff was represented by counsel and there was a full

vetting of the facts supporting his continued incarceration on the March 24, 2017

arrest. [Exhibit A David Warth Deposition, p.148 lns. 15-25; p. 149, lns. 1-9;

Exhibit F Preliminary Hearing Recording]. The preliminary hearing occurred four

days after Defendant Williamson obtained the arrest warrant and Plaintiff’s attorney,

Lyle Porter, conducted an extensive cross-examination of Defendant Williamson

which brought before the court the strengths and weaknesses of the case against

Plaintiff.   [Exhibit A David Warth Deposition, p. 149, lns. 1-17; Exhibit F

Preliminary Hearing Recording]. At the conclusion of the hearing the magistrate

judge found that sufficient probable cause existed to justify Plaintiff’s continued

incarceration. [Exhibit F Preliminary Hearing Recording]. On June 14, 2017,

Plaintiff was indicted by a grand jury on two counts of aggravated stalking and one

count of influencing a witness for sending the threatening email to Ms. Dewey.

[Exhibit H June 2017 Indictment].



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    An order granting Plaintiff’s motion to withdraw his guilty plea for the

September 2016 misdemeanor charges was entered on August 10, 2017. [Exhibit A

David Warth Deposition, p. 166, lns. 24-25; p. 167, lns. 1-9; Ex G. Order

Withdrawing Guilty Plea].     Prior to the time Plaintiff’s 90-day sentence for the

September 2016 crimes expired, the allegation that Plaintiff sent a threatening email

to Ms. Dewey had been considered by a magistrate judge following extensive oral

testimony by Defendant Williamson and subjected to careful review by a different

magistrate judge during a preliminary hearing where Plaintiff was represented by

counsel. [Exhibit B Thomas Williamson Deposition, p. 123, lns. 5-25; Exhibit J

William Brogdon Affidavit; Exhibit F Preliminary Hearing Recording; Exhibit I

Sentencing February 2017]. Consequently, Plaintiff was never restrained of his

liberty solely because of the written arrest warrant submitted to the magistrate by

Defendant Williamson. In June of 2017 a grand jury ratified the magistrates’

findings of probable cause by issuing an indictment which charged Plaintiff with

two counts of aggravated stalking and one count of influencing a witness. [Exhibit

H June 2017 Indictment].

     Plaintiff’s claims for malicious prosecution under both federal and state law

and punitive damages arising out of the March 24, 2017, arrest and prosecution

survived the Defendants’ Motion to Dismiss and Defendant Williamson now moves

this Court to grant summary judgment and dismiss all remaining claims.

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                                  Legal Argument

   I.       Summary Judgment Standard

         Summary judgment is designed to “isolate and dispose of factually

unsupported claims. . . .” Celotex Corp. v. Catrett, 477 U.S. 317, 323-24 (1986).

Because Plaintiff has the burden of proof at trial, Defendant is not required to negate

his claims, but need only demonstrate that there is an absence of evidence to support

his case. Id. at 324. When a motion for summary judgment is properly supported, a

court shall grant summary judgment if “the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a); Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.,

475 U.S. 574, 586-87 (1986) (explaining that the non-moving party “must do more

than simply show that there is some metaphysical doubt as to the material facts”).

   II.      Plaintiff’s Federal False Arrest Claims Should Be Dismissed Because
            Defendant Williamson is Entitled to Qualified Immunity and
            Because Plaintiff’s September 6, 2016, Arrest was Supported by
            Probable Cause.
   Plaintiff’s federal false arrest claims against Defendant Williamson based upon

Plaintiff’s September 6, 2016 arrest are barred by qualified immunity because there


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was arguable probable cause to arrest Plaintiff. “Qualified immunity shields

officials who are acting within their discretionary authority from liability when

their conduct does not violate a constitutional right that was clearly established at

the time of the conduct.” Williams v. Aguirre, 965 F.3d 1147, 1156 (11th Cir.

2020). In the context of a false arrest claim an officer is entitled to qualified

immunity if there was arguable probable cause to support the arrest. “Arguable

probable cause exists where reasonable officers in the same circumstances and

possessing the same knowledge as the defendant could have believe that probable

cause existed…” Gates v. Khokhar, 884 F.3d 1290 (11th Cir. 2018) citing Redd v.

City of Enterprise, 140 F.3d at 1383-1384 (11th Cir. 1998).

    The doctrine of qualified immunity supports sound public policy that an officer

who acts reasonably should not be personally liable because it appears in hindsight

that he might have erred. This rationale is heightened by the increase in school

violence and the difficult situations school resource officers are placed in everyday

in public schools across Georgia. The concept of arguable probable cause

therefore allows for the possibility that an officer might “reasonably but mistakenly

conclude that probable cause is present.” Gates v. Khokhar, 884 F.3d 1290, 1298

(11th Cir. 2018). “The existence of probable cause is an absolute bar to a § 1983

claim of false arrest, Marx v. Gumbinner, 905 F.2d 1503, 1505–06 (11th Cir.

1990).” Davis v. City of Apopka, 78 F.4th 1326, 1333 (11th Cir. 2023), cert.

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denied sub nom. Davis v. City of Apopka, Florida, 144 S. Ct. 2528 (2024).

“Probable cause is not a high bar and does not require the showing of conclusive

proof, proof beyond a reasonable doubt that a crime was in fact committed, or even

a finding made by a preponderance of the evidence.” Davis v. City of Apopka, 78

F.4th 1326, 1334 (11th Cir. 2023), cert. denied sub nom. Davis v. City of Apopka,

Florida, 144 S. Ct. 2528 (2024).

   Probable cause analysis requires the court to consider the totality of the

circumstances known to the officers and decide if a reasonable officer would be

persuaded that there is a “substantial chance of criminal activity” by the arrestee.

District of Columbia v. Wesby, 583 U.S. 48, 57, 138 S. Ct. 577, 199 L.Ed.2d 453

(2018); see also Washington v. Howard, 25 F.4th 891 (11th Cir. 2022).

   This Court dismissed Plaintiff’s state law malicious prosecution claims finding

that probable cause existed for Plaintiff’s September 6, 2016 arrest. [Dkt. 33, p.

22]. The undisputed facts support this legal finding and certainly meet the

“arguable probable cause” standard applicable to the qualified immunity defense

herein asserted.

   Defendant Williamson was off campus on September 6, 2016 when he received

a phone call reporting that there was a trespasser at the rear campus of Brookwood

High School near the trailers, who ran from the school security officer when


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confronted. [Exhibit B Thomas Exhibit B Thomas Williamson Deposition p. 33,

lns. 3-19]. Defendant Williamson arrived at the scene where Plaintiff was stopped

by Officer Gammon and observed Officer Gammon’s questioning of Plaintiff.

[Exhibit B Thomas Exhibit B Thomas Williamson Deposition p. 34, lns. 17-19].

Defendant Williamson saw that Plaintiff was wearing a disguise consisting of a

fake beard, a cap, sunglasses and latex gloves. [Exhibit B Thomas Williamson

Deposition, p. 36, lns. 6-14]. Defendant Williamson observed Officer Gammon

question Plaintiff for a while and witnessed Plaintiff repeatedly refuse to provide

any information to explain his presence on the campus, his disguise or even his

identity. [Exhibit B Thomas Williamson Deposition, p. 35, lns. 19-25; p. 37, lns. 8-

23.] Gwinnett County Police Officers arrived on the scene and began questioning

Plaintiff [Exhibit B Thomas Williamson Deposition p 37, lns. 23-25]. Plaintiff

refused to provide any information to the Gwinnett County Police Officers.

[Exhibit B Thomas Williamson Deposition p. 37, lns. 24-25; p. 38, ln. 1]

   Georgia’s criminal trespass statute O.C.G.A. § 16-7-21(b) (1) prohibits

“entering the land or premises of another…..for an unlawful purpose.” A person

wearing a disguise and loitering at the back of a public high school who then flees

from authority when confronted and refuses to provide their name or any

explanation for their actions provides more than enough reasonable belief that

there was a “substantial chance of criminal activity.” Accordingly, Defendant

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Williamson had arguable probable cause to arrest Plaintiff for trespass on

September 6, 2016, Defendant Williamson is entitled to qualified immunity for the

September 6, 2016 arrest and Plaintiff’s federal false arrest claim should be

dismissed.

   III.   Plaintiff’s State False Imprisonment Claims for the September 6,
          2016, Arrest Should Be Dismissed Because Exigent Circumstances
          Existed and Because Defendant Williamson Is Entitled to Official
          Immunity.

   Defendant Williamson’s warrantless arrest of Plaintiff on September 6, 2016,

was authorized under Georgia law because Plaintiff’s criminal activity was directly

observed by Defendant Williamson and/or was within his immediate knowledge

and because Plaintiff was endeavoring to escape. Further, Defendant Williamson is

entitled to official immunity for the false imprisonment claim since his actions in

arresting Plaintiff were discretionary and not undertaken with actual malice or an

actual intent to harm the Plaintiff.

   A. Exigent Circumstances Authorized Plaintiff’s Warrantless Arrest

   The elements of a false imprisonment claim under Georgia law are a detention

of the person of another for some length of time and the unlawfulness of that

detention. Smith v. Wal-Mart Stores E., LP, 765 S.E. 2d 518. (1995). A

warrantless arrest can constitute false imprisonment under Georgia law if the arrest

is made without probable cause or if the arrest does not meet one of the exigent
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circumstances set forth in O.C.G.A. § 17-4-20. Arbee v. Collins, 463 S.E. 2d 922

(1995).

   This Court found that Defendant Williamson had probable cause for the

Plaintiff’s September 6, 2016, arrest and as discussed above, the facts developed

during discovery further support that legal conclusion. [Dkt. #33 p. 22]. Plaintiff

can only succeed on his state law false imprisonment claim if he can show that the

arrest did not meet one of the statutory exigent circumstances. Under Georgia’s

exigent circumstance exceptions, a law enforcement officer is authorized to make a

warrantless arrest if 1. the offense is committed in such officer’s presence or within

such officer’s immediate knowledge, 2. if the offender is endeavoring to escape or

3. for other cause there is likely to be failure of justice for want of a judicial officer

to issue a warrant. O.C.G.A. 17-4-20(B)(i), (ii) and (vi). Defendant Williamson’s

warrantless arrest of Plaintiff met the exigency requirements of Georgia law

because Plaintiff was committing crimes directly in front of Defendant Williamson

and/or within the immediate knowledge of Defendant Williamson. Additionally,

Plaintiff was trying to escape and had the warrantless arrest not taken place

Plaintiff would never have been found and there would be a failure of justice.

   Defendant Williamson arrived at the scene of Plaintiff’s detention and directly

observed Plaintiff wearing a fake beard, baseball cap and latex gloves in violation

of Georgia’s anti-mask law in effect at the time, O.C.G.A. § 16-11-38. [Exhibit B
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Thomas Williamson Deposition p.36, lns. 8-14]. Defendant Williamson also

observed Plaintiff repeatedly refuse to remove the disguise after being asked to do

so. [Exhibit B Thomas Williamson Deposition p. 37, lns. 18-19]. At the time of

Plaintiff’s arrest Georgia prohibited a person from wearing a mask, hood or device

by which any portion of the face is so hidden, concealed, or covered as to conceal

the identity of the wearer when upon any public way or public property or upon

private property without written permission. O.C.G.A.§ 16-11-38. Plaintiff was

subsequently charged and entered a guilty plea to the crime of wearing a mask.

[Exhibit A. Davd Warth Deposition. p. 129, lns. 8-17; p. 140, lns. 5-17]. Defendant

Williamson’s observation of Plaintiff committing a crime in his presence provided

a statutory justification for the warrantless arrest and defeat Plaintiff’s false

imprisonment claim.

      Defendant Williamson’s warrantless arrest of Plaintiff also falls within the

exigency exceptions because Plaintiff was trying to escape and had Defendant

Williamson opted to let Plaintiff go so he could go obtain a warrant, Plaintiff

would have fled resulting in the failure of justice. Prior to his arrival at the scene

Defendant Williamson had been made aware that Plaintiff fled when confronted by

the security officer at Brookwood High School and he personally observed Plaintiff

repeatedly ask Officer Gammon if he was free to go. [Exhibit B Thomas

Williamson Deposition, p. 33, lns. 3-19]. None of the law enforcement officers on

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the scene had a way of identifying Plaintiff who refused to provide them his name,

identification or remove his disguise. If Defendant Williamson opted not to arrest

Plaintiff and instead to go to the jail to obtain a warrant it was reasonable to believe

that Plaintiff would have disappeared not to be found again. [Thomas Williamson

Affidavit ¶ 14] In fact, it would be ridiculous to believe otherwise. As a practical

matter, Defendant Williamson would have had no way of even obtaining a warrant

without knowing the Plaintiff’s name and certainly could not have served the

warrant since there was no information about where the Plaintiff lived.

      Since Defendant Williamson’s arrest of Plaintiff on September 6, 2016 was

supported by probable cause and fell within multiple statutory exigency exceptions

authorizing a warrantless arrest, Plaintiff’s state law false imprisonment claim

should be dismissed.

   B. Defendant Williamson Is Entitled to Official Immunity

   Defendant Williamson’s arrest of Plaintiff on September 6, 2016, was a

discretionary act undertaken without actual malice or any intent to do harm,

therefore official immunity bars Plaintiff’s false imprisonment claim. Under

Georgia’s Constitution public officers and employees are not liable for negligence

in the performance of their discretionary functions unless they act with malice or

an actual intent to cause injury. McDowell v. Smith, 678 S.E. 2d 922 (2009),


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Teston v. Collins, 459 S.E.2d 452 (1995). The rationale behind official immunity is

to protect the independent judgment of public employees without the threat of

litigation. Cameron v. Lang, 549 S.E.2d 341 (2001). A police officer’s decision to

make a warrantless arrest is a discretionary act within the officer’s official

functions. Mercado v. Swoope, 798 S.E.2d 291 (2017) citing Taylor v. Waldo, 709

S.E.2d 278 (2011). “Actual Malice” for the purposes of official immunity is more

than implied malice or reckless disregard for the rights of others and instead

requires a deliberate intention to do wrong. Merrow v. Hawkins, 467 S.E.2d 336

(1996).

    In Selvy v. Morrison, 665 S.E.2d 401 (Ga. App. 2008) the court found that

dismissal was appropriate for lack of actual malice in a false arrest/false

imprisonment case despite a police officer initially leaving plaintiff’s home only to

return yelling “fuck this shit, arrest that bitch too!.” In the Selvy case, the police

officer also yelled for her to open the door or he would kick it in, slammed

Plaintiff’s face into the wall, and kicked her leges out from under her, causing

injury to plaintiff’s son before he charged her with disorderly conduct. In Tittle v.

Corso, the Court of Appeals found that a police officer’s slamming a motorist

against his vehicle, threatening the motorist and using profanity during the arrest

did not reach the level of actual malice required to overcome official immunity.

Title v. Corso, 256 Ga. App. 859 (2002).

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   There is no evidence of actual malice in this case. Defendant Williamson

testified that he did not even realize who Plaintiff was until after the arrest was

made on September 6, 2016, and the Plaintiff’s identification card with his name

was discovered. [Exhibit B Thomas Williamson Deposition, p. 38, lns. 15-18].

Defendant Williamson testified that he had no personal animosity toward Plaintiff.

[Exhibit B Thomas Williamson Deposition, p. 29, lns. 3-4]. Further, Defendant

Williamson did not rush to make an arrest in this case but waited for Officer

Gammon to patiently question Plaintiff for an extended period to give Plaintiff the

opportunity to cooperate with questioning. [Exhibit B Thomas Williamson

Deposition, p. 37, lns. 8-25, p. 38, lns.2-14]. Defendant Williamson’s patience in

this case shows that he was not motivated by ill will toward Plaintiff. Finally,

Defendant Williamson has credibly testified that, due to the disguise Plaintiff wore,

he did not even know the identity of Plaintiff at the time the arrest was made on

September 6, 2016. [Exhibit B Thomas Williamson Deposition p. 38 lns. 15-18].

Any argument that Defendant Williamson had some personal animus toward

Plaintiff is undermined by Plaintiff’s anonymity at the time of the arrest.

      Defendant Williamson’s arrest of Plaintiff was not action undertaken with

actual malice but was in furtherance of his legitimate law enforcement functions

and to keep the Gwinnett Couty Public Schools safe. Defendant Williamson had

probable cause to arrest Plaintiff and was justifiably concerned that letting Plaintiff

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leave without being arrested would mean that there could be no arrest. As a result,

Plaintiff’s state law false imprisonment claim under Count III of the Complaint

should be dismissed.

   IV.   Plaintiff Is Not Entitled to Punitive Damages for the September 6,
         2016 Arrest.
      Count VI of Plaintiff’s Complaint seeks punitive damages against Defendant

   Williamson and alleges that Defendant Williamson’s actions towards Plaintiff

   displayed willful misconduct, malice, fraud, wantonness, oppression, or that

   entire want of care which would raise the presumption of conscious indifference

   to the consequences. The record fails to provide any supporting facts in

   furtherance of the claim for punitive damages. The record shows that Officer

   Williamson acted in the good faith performance of his official duties and well

   within the lawful exercise of those duties during his interaction with Plaintiff on

   September 6, 2016. Consequently, punitive damages are not warranted.

      Under Georgia law punitive damages are awarded to punish, penalize, or

   deter a defendant and may only be granted clear and convincing evidence that

   the defendant's actions showed willful misconduct, malice, fraud, wantonness,

   oppression, or that entire want of care which would raise the presumption of

   conscious indifference to consequences. O.C.G.A. § 51-12-5.1 Claims for




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   punitive damages under Georgia law are derivative of tort law claims and where

   the underlying claim is dismissed the punitive damages claim

should also be dismissed. Perkins v. Thrasher, 701 Fed. Appx. 887 (11th Cir. 2017).

As set forth above, the Plaintiff’s state law false imprisonment claim is without

merit and should be dismissed along with any derivative claims for punitive

damages. Further, Officer Williamson’s conduct did not show willful misconduct,

malice, fraud, wantonness, oppression, or the entire want of care which would raise

the presumption of conscious indifference to consequences.

   An award of punitive damages is authorized in a federal civil rights case if “the

defendant was motivated by an evil motive or intent, or there [was] reckless or

callous indifference to federally protected rights[.]” Forsberg v. Pefanis, 634 Fed.

Appx. 676, 680 (11th Cir. 2015) (citing Davis v. Locke, 936 F.2d 1208, 1214 (11th

Cir.1991)) (quoting Anderson v. City of Atlanta, 778 F.2d 678, 688 (11th

Cir.1985)). Similar to state law claims, a plaintiff must first succeed on their

underlying civil rights claim to be entitled to punitive damages. Cruz v. Green, 325

F. Supp.3d 1213 (N. Dist. Fla 2019). Since Defendant Williamson is entitled to

qualified immunity and dismissal of the federal false arrest claim set out in Count I

of Plaintiff’s Complaint any claims for punitive damages related to such claims

should also be dismissed. In other words, the Plaintiff cannot survive summary



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judgment on punitive damages claims simply by setting such claims out as a

“count” in the Complaint.

   V.     Plaintiff’s Federal Malicious Prosecution Claims Related to The
          March 2017 Arrest Should Be Dismissed

   Defendant Williamson is entitled to qualified immunity for Plaintiff’s federal

malicious prosecution claims arising out of the March 2017 arrest. There is no

dispute, and this Court has found that Defendant Williamson was performing

discretionary functions when he sought and obtained the arrest warrant for Plaintiff

in March of 2017. [Dkt. 33, p. 17]. The record is also clear that Defendant

Williamson did not violate clearly established law when he effected the March

2017 arrest. Therefore, the Plaintiff’s federal malicious prosecution claims should

be dismissed.

   The federal tort of malicious prosecution requires Plaintiff to establish “(1) that

the defendant violated his Fourth Amendment right to be free from seizures

pursuant to legal process and (2) that the criminal proceedings against him

terminated in his favor.” Luke v. Gulley, 50 F.4th 90, 95 (11th Cir. 2022). The first

prong requires plaintiff to show “the legal process justifying his seizure was

constitutionally infirm” and “his seizure would not otherwise be justified without

legal process.” Luke, 50 F.4th at 95. Plaintiff’s claims fail on both required

showings.

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       The legal process is constitutionally infirm if defendant “intentionally or

recklessly made misstatements or omissions necessary to support the warrant” or

he “should have known that his warrant application failed to establish probable

cause.” Sorrells v. Dodd, 2024 WL 3981781, at *7–8 (11th Cir. Aug. 29, 2024).

“[A] warrant violates the Fourth Amendment when it contains omissions made

intentionally or with a reckless disregard for the accuracy of the affidavit.”

Madiwale v. Savaiko, 117 F.3d 1321, 1326 (11th Cir. 1997.) Further, to deny

qualified immunity to an officer in this context, the omitted facts must be “so

clearly material that every reasonable law officer would have known that their

omission would lead to a search [or seizure] in violation of federal law.” Haygood

v. Johnson, 70 F.3d 92, 95 (11th Cir. 1995). There is no constitutional violation “if,

absent the misstatements or omissions, there remains sufficient content to support a

finding of probable cause.” Stefani v. City of Grovetown, 780 Fed. Appx. 842,

850–51 (11th Cir. 2019) citing Dahl v. Holley, 312 F.3d 1228, 1234 (11th Cir.

2002), abrogated by Lozman v. Riviera Beach, 585 U.S. 87, 138 S. Ct. 1945, 201

L. Ed. 2d 342 (2018).

      Plaintiff bases his argument on alleged omissions in the written arrest

warrant, specifically that Defendant Williamson failed to include potentially

exculpatory information. However, the facts revealed in discovery establish that

Defendant Williamson did not only submit the written arrest warrant application

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but also provided detailed and comprehensive testimony to the magistrate judge

prior to the issuance of the warrant. [Exhibit B Thomas Williamson Deposition,

p. 123, lns. 17-25; p. 124, lns.1-25; p. 125, lns. 1-25; Exhibit J William Brogdon

Affidavit ¶¶ 4-6].

      It is the practice and requirement in Gwinnett County that prior to the

issuance of an arrest warrant the officer seeking the warrant appears before the

issuing magistrate to provide testimony. [Exhibit J William Brogdon Affidavit ¶

4]. Defendant Williamson completed the arrest warrant application, but the legal

process for the issuance of the March 2017 arrest warrant involved a much more

fulsome process wherein a full description of the evidence gathered in the multi-

agency investigation was presented to an independent magistrate judge prior to

the issuance of the arrest warrant. [Exhibit B Thomas Williamson Deposition, p.

123, lns. 17-25; p. 124, lns.1-25; p. 125, lns. 1-25; Exhibit J William Brogdon

Affidavit ¶¶ 4-6].

      In evaluating the constitutionality of the arrest warrant process the Court

should consider not only the facts set forth on the arrest warrant

application/affidavit, but also on the oral testimony upon which the issuance of

the warrant was based. United States v. Hill, 500 F.2d 315, 320 (5th Cir. 1974);

Garmon v. Lumpkin Cty., Ga., 878 F.2d 1406, 1409 n.1 (11th Cir. 1989); and

Stefani v. City of Grovetown, 780 Fed. Appx. 842, 851 (11th Cir. 2019).In
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Haywood v. Green, 695 F. Supp. 3d 1315, 1324–25 (N.D. Ala. 2023) the Court

considered a similar claim of malicious prosecution where the affidavit supporting

the arrest warrant was wanting. Despite the foregoing, the Court dismissed the

Plaintiff’s malicious prosecution claim because the record established that the

investigator seeking the arrest warrant also appeared in person before the

magistrate judge and provided sufficient testimony to support the probable cause

finding. Id.

      Plaintiff’s claim also fails with respect to the requirement that his seizure

would not otherwise be justified without legal process. On March 24, 2017, the

date the arrest warrant was obtained, Plaintiff had not yet withdrawn his guilty plea

and was incarcerated for his convictions arising out of the September 6, 2016

conduct. [Exhibit I Sentencing February 2017; Exhibit G Order Withdrawing

Guilty Plea]. Plaintiff entered a guilty plea and was sentenced to 90 days of

detention on February 9, 2017 [Exhibit I Sentencing February 2017]. The arrest

warrant obtained by Defendant Williamson was issued and served upon Plaintiff

while he was incarcerated. [Exhibit A David Warth Deposition, p. 148, lns. 7-14].

      Plaintiff was still within the term of his custodial sentence from February 9,

2017 when on March 28, 2017 Plaintiff was taken to a preliminary hearing.

[Exhibit F Preliminary Hearing Recording; Exhibit I Sentencing February 2017].

During the Preliminary Hearing, Plaintiff was represented by counsel and there
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was a full vetting of the facts supporting his continued incarceration. [Exhibit F

Preliminary Hearing Recording]. Plaintiff’s attorney, Lyle Porter, conducted an

extensive cross examination of Defendant Williamson which brought before the

court the strengths and weaknesses of the case against Plaintiff. [Exhibit F

Preliminary Hearing Recording]. At the conclusion of the hearing the magistrate

judge found that sufficient probable cause existed to justify Plaintiff’s continued

incarceration. [Exhibit F Preliminary Hearing Recording]. Any infirmity in the

legal process associated with the arrest warrant obtained by Defendant

Williamson was cured with the preliminary hearing on March 28, 2017.

      Plaintiff was subsequently indicted by a Gwinnett County grand jury on

two counts of aggravated stalking and one count of influencing a witness on June

14, 2017, for the conduct that led to his March 24, 2017 arrest. [Exhibit H June

2017 Indictment].

      The arrest warrant for Plaintiff obtained by Defendant Williamson in March

of 2017 did not result in any additional seizure of the Plaintiff. The fact that the

oral testimony provided in support of the arrest warrant’s issuance and the

preliminary hearing occurred prior to the expiration of the Plaintiff’s custodial

sentence arising out of his September 2016 criminal conduct means that the

written arrest warrant submitted by Defendant Williamson was never the sole

basis for Plaintiff’s detention. Consequently, Plaintiff’s federal Malicious
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Prosecution claim for this March 24, 2017, arrest fails as a matter of law and

should be dismissed because his seizure at the time of the arrest was otherwise

justified by his earlier sentence and conviction.

V.      Plaintiff’s State Law Malicious Prosecution Claims Should be
        Dismissed
     A. Defendant Williamson had Probable Cause for Plaintiff’s March 24,
        2017 arrest.
     “In order to state a claim for malicious prosecution in Georgia, a plaintiff must

show (1) prosecution for a criminal offense; (2) instigated without probable cause;

(3) with malice; (4) under a valid warrant, accusation or summons; (5) which has

terminated favorably to the plaintiff; and (6) has caused damage to the plaintiff.

The requisite malice may be inferred from a total lack of probable cause. Thus, the

gravamen of the complaint is the absence of probable cause on the part of the

person instituting the prosecution.” McKissick v. S.O.A., Inc., 299 Ga. App. 772,

774, 684 S.E.2d 24, 27 (2009) citing Barnette v. Coastal Hematology etc., 294 Ga.

App. 733, 735–736, 670 S.E.2d 217 (2008). “The overriding question in actions

for malicious prosecution is not whether the plaintiff was guilty, but whether the

defendant had reasonable cause to so believe.” Monroe v. Sigler, 256 Ga. 759, 760,

353 S.E.2d 23, 24–25 (1987).

     However, unlike the federal malicious prosecution standard, under Georgia law

the focus of the inquiry is not upon the information presented to the magistrate


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judge in furtherance of obtaining the warrant, but upon what the defendant (officer)

reasonably believed. Stated differently, if Defendant Williamson had reasonable

cause to believe that probable cause existed for Plaintiff’s March 2017 arrest then

the Plaintiff’s state malicious prosecution claim fails.

      Defendant Williamson reasonably believed that Plaintiff sent the email to

Ms. Dewey on February 6, 2017 and that by virtue of the contents of that email,

that Plaintiff had stalked Ms. Dewey both at her residence and at Brookwood High

School. [Exhibit B Thomas Williamson Deposition, p. 129, lns. 1-18; Exhibit D

Thomas Williamson Affidavit, ¶ 34]. At that time he sought the arrest warrant for

Plaintiff, Defendant Williamson knew the following pertinent facts pointing to

Plaintiff as the author of the threatening email to Ms. Dewey:




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3. Plaintiff had put on a disguise and trespassed on the campus of Brookwood

   High School near Ms. Dewey’s trailer on September 6, 2016, and fled when

   confronted by school security. [Exhibit A David Warth Deposition, p. 95,

   lns. 4-10; lns. 13-21; Exhibit B Thomas Williamson Deposition, p. 39, lns.

   17-20].

4. The threatening email received by Ms. Dewey directed that she dismiss any

   civil and criminal actions she had pending and the only legal matters Ms.

   Dewey was involved with at the time involved Plaintiff. [Exhibit B Thomas

   Williamson Deposition, p. 65, lns. 15-25; p. 76, lns. 10-14].

5. Emory University’s IT records showed that Plaintiff had accessed a TOR

   browser using a MacBook computer and that computer was not found

   following extensive searches of Plaintiff’s dorm and parent’s home. [Exhibit

   D Thomas Williamson Affidavit ¶ 32; Exhibit B Thomas Williamson

   Deposition, p. 103, lns. 6-16; p. 125, lns. 7-8].

6. Plaintiff’s personal cell phone was never found despite extensive searches of

   Plaintiff’s dorm room and parent’s home. [Exhibit B Thomas Williamson

   Deposition, p. 103, lns. 6-16]

   The foregoing facts known to Defendant Williamson at the time of the arrest

provided more than sufficient probable cause to seek an arrest warrant for



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   Plaintiff. As a result, the Plaintiff’s state law malicious prosecution claim

   should be dismissed.

      B. Defendant Williamson is Entitled to Official Immunity for Plaintiff’s
         Malicious Prosecution Claims Arising Out of the March 24, 2017
         arrest.
      As set forth in Section III B. above, official immunity provides public

employees such as Defendant Williamson with protection from liability as long as

the actions involved are discretionary actions and are untaken without actual

malice or an actual intent to harm a plaintiff. McDowell v. Smith, 678 S.E. 2d 922

(2009). Official immunity is applicable to malicious prosecution claims. Marshal

v. Browning, 310 Ga. App. 64 (2011). In Georgia the actual malice/intent to harm

required to overcome official immunity is a high bar.

      actual malice requires a deliberate intention to do wrong and denotes express
      malice or malice in fact. Actual malice does not include implied malice, or
      the reckless disregard for the rights and safety of others. A deliberate
      intention to do wrong such as to constitute the actual malice necessary to
      overcome official immunity must be the intent to cause the harm suffered by
      the plaintiffs. Likewise, the phrase “actual intent to cause injury” has been
      defined in a tort context to mean an actual intent to cause harm to the
      plaintiff, not merely an intent to do the act purportedly resulting in the
      claimed injury. This definition of intent contains aspects of malice, perhaps a
      wicked or evil motive

Marshall v. Browning, 310 Ga. App. 64, 67–68, 712 S.E.2d 71, 74 (2011) citing

Selvy v. Morrison, 292 Ga. App. 702, 704–705, 665 S.E.2d 401 (2008).




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   The record in this case contains no evidence to support a wicked or evil motive

by Defendant Williamson. Instead, the undisputed testimony of Defendant

Williamson is that he had no animus toward Plaintiff. [Exhibit B Thomas

Williamson Deposition p. 29, lns. 3-4]. Plaintiff may argue that Defendant

Williamson decision to arrest him for sending the email was wrong or even

unreasonable, but the difficult discretionary decisions made by Defendant

Williamson in furtherance of protecting the students and staff of the Gwinnett

County School District are insulated from Plaintiff’s claims by virtue of sovereign

immunity and should be dismissed.

   VI.   Plaintiff’s State Law Punitive Damages Claims Should be Dismissed
   Plaintiff’s Count XII claims for punitive damages arising out of state law tort

claims should be dismissed because they are derivative of the underlying tort

claims, which have all either been dismissed or should be dismissed as set forth

above. Perkins v. Thrasher, 701 Fed. App’x 887, 891 (11th Cir. 2017). Further,

dismissal of the state law punitive damages claims is necessary because the facts in

this case show that Defendant Williamson’s actions did not meet the threshold for

the award of such damages.

      O.C.G.A. § 51-12-5.1(b) sets out the standard for the award of punitive

damages and provides: “Punitive damages may be awarded only in such tort

actions in which it is proven by clear and convincing evidence that the defendant's

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actions showed willful misconduct, malice, fraud, wantonness, oppression, or that

entire want of care which would raise the presumption of conscious indifference to

consequences.” In the context of a malicious prosecution claim under Georgia law

punitive damages are allowed in cases where the acts of the defendant were

influenced by malicious motives and were done without probable cause. Willis v.

Brassell, 220 Ga. App. 348, 354, 469 S.E.2d 733, 740 (1996).

      The undisputed facts in this case show that Defendant Williamson did not

act maliciously in the pursuit of the criminal charges against Plaintiff. Plaintiff has

developed no evidence of willful misconduct, malice, fraud, wantonness or

oppression by Defendant Williamson. Instead, Defendant Williamson pursed an

arrest warrant against Plaintiff based upon his legitimate belief that Plaintiff sent

the e-mail threatening Ms. Dewey’s life if she did not cease the pursuit of civil and

criminal actions.

      Respectfully submitted this 9th day of January, 2025


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      Counsel for the Defendant certifies by signature below that DEFENDANT’S
BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT has been
prepared with Times New Roman 14-point font as required by Local Rule 5.1.
                                             /s/ Stephen D. Pereira
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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

  DAVID C. WARTH,

       Plaintiff,                              CIVIL ACTION FILE NO.
                                               1:23-cv-05072-MLB
  v.

  THOMAS WILLIAMSON,

  Defendant.


                          CERTIFICATE OF SERVICE

        I hereby certify that I have this day electronically submitted the foregoing

DEFENDANT’S BRIEF IN SUPPORT OF MOTION FOR SUMMARY

JUDGMENT to the Clerk of Court using the CM/ECF system which will

automatically send electronic mail notification of such filing to counsel of record

who are CM/ECF participants. Counsel of record are:




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     This 9th day of January, 2025



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